












Dismissed and Memorandum Opinion filed April 8, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00154-CV

____________

&nbsp;

LATASHIA ROCHELLE BATES, Appellant

&nbsp;

V.

&nbsp;

LARRY DALE TOWNER, Appellee

&nbsp;



&nbsp;

On Appeal from the 247th District Court

Harris County, Texas

Trial Court Cause No. 2005-71052

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

This appeal is from a judgment signed December 1, 2009. No
clerk=s record has been filed. The clerk
responsible for preparing the record in this appeal informed the court
appellant did not make arrangements to pay for the record.&nbsp; 

On March 10, 2010, notification was transmitted to all
parties of the court's intention to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b). No response
was filed.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Chief Justice
Hedges and Justices Yates and Boyce. 





